Case 8:17-CV-02971-VI\/|C-AAS Document 8 Filed 12/26/17 Page 1 of 1 Page|D 43

A() 440 (Rev. 06/| 2) Summons in a Civil Aclion

UNITED STATES DISTRICT COURT

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p/W§ gaf ¢S 54»»7; 0 §
aintiff(s)
v. § Civil Action No.
-7"),./ %?,,1},045»47 ¢AC_ § 31/7»-£_1/- 2971 -7'- 53 455
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gil Defendant(s)
SUMMONS |N A ClV|L ACTION

To: (Defendant s name and address)

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Within 21 days after service of this summons on you (not counting the day you received i1) _ or 60 days il` you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. |2 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 ot`
the Federa| Ru|es of Civil Procedure. The answer or motion must be served on the plaintiff or plaintift"s attomey,

whose name and address are:
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lf` you fail to respond, judgment by default will be entered against you for the relief demanded m the complaim.
You also must file your answer or motion with the court.

A lawsuit has been filed against you

ELlZABETH M. WARREN
cLERK 0F couRT

ma #/2&/7 . _ ,1, ,j_@i//K

Signature of Clerk or Deputy Clerlt

